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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


KEVIN F. JOHNSON,                             :    CIVIL ACTION
               Petitioner,                    :
           v.                                 :
                                              :
JOHN W. KERESTES, et al.,                     :
               Respondents.                   :    NO. 13-03197


                                ENTRY OF APPEARANCE

       I hereby enter my appearance on behalf of the petitioner in the above-captioned matter.


                           WITHDRAWAL OF APPEARANCE

       Arianna J. Freeman hereby withdraws her appearance on behalf of petitioner in the
above-captioned matter.

                                                   Respectfully submitted,


                                                   /s/ Claudia Flores
                                                   CLAUDIA FLORES
                                                   Assistant Federal Defender
                                                   Federal Community Defender Office for
                                                   the Eastern District of Pennsylvania
                                                   601 Walnut Street, Suite 540 West
                                                   Philadelphia, PA 19106
                                                   (215) 928-1100
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                                CERTIFICATE OF SERVICE

       I, Claudia Flores, Assistant Federal Defender, Federal Community Defender Office for

the Eastern District of Pennsylvania, hereby certify that on this date this document has been filed

electronically and is available for viewing and downloading from the Court’s ECF system. I

have served this document electronically upon Banafsheh Amirzadeh, Assistant District

Attorney, Federal Litigation Unit, Philadelphia District Attorney’s Office.




                                                     /s/ Claudia Flores
                                                     CLAUDIA FLORES
                                                     Assistant Federal Defendant
Date: October 5, 2022
